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15                                           SAN JOSE DIVISION
16
     SENTIUS INTERNATIONAL, LLC,                  Case No. 5:13-00825-PSG
17
                        Plaintiff,                PLAINTIFF SENTIUS’ MEMORANDUM
18                                                OF LAW IN OPPOSITION TO
             vs.                                  DEFENDANT’S DAUBERT MOTION TO
19                                                EXCLUDE TESTIMONY OF SENTIUS’
     MICROSOFT CORPORATION,                       DAMAGES EXPERT, ROBERT MILLS
20

21                      Defendant.                DATE:          January 13, 2015
                                                  TIME:          10:00 a.m.
22                                                JUDGE:         Hon. Paul S. Grewal
23

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             *** FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER***
25        CONTAINS INFORMATION DESIGNATED AS “HIGHLY CONFIDENTIAL –
         ATTORNEYS’ EYES ONLY” AND “HIGHLY CONFIDENTIAL SOURCE CODE”
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28                                                    Plaintiff’s Opposition to Daubert Motion to Exclude
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 1          Plaintiff Sentius International, LLC (“Sentius”) respectfully submits the following
 2   memorandum in opposition to Defendant Microsoft Corporation’s (“Microsoft”) Daubert Motion
 3   to Exclude Testimony of Sentius’ Damages Expert, Robert Mills.
 4                                           INTRODUCTION
 5          Mr. Mills submitted a 334-page report, plus exhibits, on the damages adequate to
 6   compensate Sentius for Microsoft’s use of three infringing features of the accused products:
 7   background spell-checking, background grammar-checking and smart tags. He conducted a
 8   reasonable royalty analysis using the Georgia-Pacific factors. For background spell-checking
 9   and background grammar-checking, Mr. Mills’ analysis has two main parts relevant here. First,
10   relying on Dr. Madisetti’s conclusion that the technology of a Lucent patent is comparable to the
11   technology of the ‘731 patent and the ‘633 patent as they are used for the accused spell checker
12   and the accused grammar checker, Mr. Mills drew guidance from Microsoft’s litigation
13   settlement agreement with Lucent. Second, relying on a survey conducted by Sentius’ survey
14   expert, Dr. Wecker, Mr. Mills drew guidance from an “Income Approach” to valuation, which
15   estimates the incremental profits that Microsoft would stand to lose if it were to remove the
16   accused spell checker and grammar checker from the accused products. The comparable license
17   and income approaches are analytically distinct, but both confirmed the conclusions reached by
18   Mr. Mills. Finally, for smart tags, Mr. Mills drew guidance from a litigation settlement license
19   between Microsoft and Arendi involving smart tags, again relying on Dr. Madisetti’s conclusion
20   that the licensed Arendi technology (smart tags) is comparable to the technology of the ‘731 and
21   ‘633 patents as they relate to smart tags.
22          Microsoft first argues that Sentius’s “primary theory” seeks to rely “not on a settlement
23   agreement, but on a post-trial decision” in Lucent, then Microsoft complains at length that Mr.
24   Mills has no authority for relying on a JMOL order.              Motion at 1-3, 7.          This is a
25   misunderstanding: Mr. Mills relied on the settlement agreement between Microsoft and Lucent,
26   which retroactively and prospectively released all claims under the Lucent patent (which had
27   expired as of the effective date of the agreement). Mr. Mills relied on Judge Huff’s JMOL
28                                                  1
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 1   decision only to determine the portion of the                license fee paid by Microsoft to Lucent
 2   that is attributable to the license for the ‘356 patent as it is used in Microsoft Outlook, as opposed
 3   to a license for Microsoft Money or an award of costs and prejudgment interest. Id. Even if Mr.
 4   Mills relied on the JMOL for more than a limited purpose (which he did not), Microsoft does not
 5   explain why it would be improper to seek guidance from a judicial decision and jury verdict that
 6   decided what the outcome of a relevant hypothetical negotiation would be.
 7           Next Microsoft argues that the Arendi smart-tag license cannot be used for calculating the
 8   reasonable royalty for Microsoft’s infringing use of smart tags because it is a settlement license,
 9   but Microsoft ignores that this is the best and only license that either party has cited as being
10   relevant to the accused smart tags feature. The case law expressly permits use of settlement
11   licenses in this context.
12           Microsoft also seeks to exclude Mr. Mills from relying on the Lucent and Arendi
13   agreements because they are not technically comparable, but Mr. Mills explicitly relies on Dr.
14   Madisetti for those conclusions and Microsoft has not sought to exclude Dr. Madisetti. For the
15   reasons he gave, these licenses are technically comparable – and notably, Microsoft has not
16   identified any other license that is technically comparable to the patents in dispute here.
17           Finally, Microsoft seeks to exclude the income approach, which it claims is “wholly
18   derivative” on the Lucent effective royalty rate. That is incorrect: the income approach is an
19   alternative theory of damages based on the Wecker Survey, which made no mention of Lucent,
20   the Lucent patent, or the date-picker functionality in Lucent. Mr. Mills used the Wecker Survey
21   to determine the revenue and profit Microsoft would stand to lose if it replaced the accused spell
22   and grammar check functionality with the next best and non-infringing alternative that was
23   available to it. After analyzing the relative bargaining positions of the parties, Mr. Mills
24   determined that a 50/50 split of this amount would be reasonable. Because the Lucent effective
25   royalty rate would yield a 22% split for Sentius of these at-risk profits, Mr. Mills also noted that
26   22% would be conservative estimate.
27           For these reason, Sentius respectfully requests that the motion be denied.
28                                                     2
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 1                                       I.     BACKGROUND
 2          A.      Mr. Mills
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11                                                                              He is an economist and
12   Director at Micronomics, Inc., an economic research and consulting firm located in Los Angeles,
13   California.
14          B.      Mr. Mills’ Damages Analysis
15          Mr. Mills submitted a 334-page report, plus exhibits, on the damages adequate to
16   compensate Sentius for Microsoft’s use of three infringing features of the accused products:
17   background spell-checking, background grammar-checking and smart tags. He conducted a
18   reasonable royalty analysis using the Georgia-Pacific factors.
19          For background spell-checking and background grammar-checking, Mr. Mills’ analysis
20   has two main parts relevant here.
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 1                                                              According to the Court’s analysis, no
 2   less than $24.6 million of the total damages award is attributable to Outlook, as opposed to
 3   Money (which is not accused here). Mr. Mills used the Court’s analysis to determine the portion
 4   of the settlement agreement that was attributable to Outlook.
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15          Second, relying on a survey conducted by Sentius’ survey expert, Dr. Wecker, Mr. Mills
16   drew guidance from an “Income Approach” to valuation, which estimates the incremental profits
17   that Microsoft would stand to lose if it were to remove the accused spell checker and grammar
18   checker from the accused products.
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 8                                       That said, the comparable license and income approaches are
 9   analytically distinct, but both confirmed each other.
10           Finally, for smart tags, Mr. Mills drew guidance from a litigation settlement license
11   between Microsoft and Arendi involving smart tags, again relying on Dr. Madisetti’s conclusion
12   that the licensed Arendi technology (smart tags) is comparable to the technology of the ‘731 and
13   ‘633 patents as they relate to smart tags. Drawing on that agreement, he derives a $.03 per-copy
14   royalty rate.
15                                     II.     LEGAL STANDARD
16           In evaluating expert testimony in response to a Daubert motion, the critical prerequisite is
17   that “the methodology . . . [be] sound.” Golden Bridge Tech. v. Apple Inc., Case No. 5:12-cv-
18   04882-PSG, slip op. at 7 (N.D. Cal. May 18, 2014). “The inquiry into admissibility of expert
19   opinion is a ‘flexible one,’ where shaky ‘but admissible evidence is to be attacked by cross
20   examination, contrary evidence, and attention to the burden of proof, not exclusion.’” Emblaze
21   Ltd. v. Apple Inc., No. 5:11-CV-01079-PSG, 2014 WL 2889764, at *3 (N.D. Cal. June 25, 2014)
22   (quoting Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010)). “Under Daubert, the district
23   judge is ‘a gatekeeper, not a fact finder.’ When an expert meets the threshold established by Rule
24   702 as explained in Daubert, the expert may testify and the jury decides how much weight to give
25   that testimony.” Id. (quoting Primiano, 598 F.3d at 564).
26           “That the gatekeeping role of the judge is limited to excluding testimony based on
27   unreliable principles and methods is particularly essential in the context of patent damages.”
28                                                    5
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 1   Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1315 (Fed. Cir. 2014). The Federal Circuit “has
 2   recognized that questions regarding which facts are most relevant or reliable to calculating a
 3   reasonable royalty are for the jury.” Id. (quotations omitted); see also i4i Ltd. P'ship v. Microsoft
 4   Corp., 598 F.3d 831, 852 (Fed. Cir. 2010) aff’d, 131 S. Ct. 2238, 180 L. Ed. 2d 131 (2011)
 5   (“When the methodology is sound, and the evidence relied upon sufficiently related to the case at
 6   hand, disputes about the degree of relevance or accuracy (above this minimum threshold) may go
 7   to the testimony's weight, but not its admissibility”).
 8                                          III.    ARGUMENT
 9            A.     Mr. Mills Properly Relied on the Lucent and Arendi Agreements
10                   1.     Mr. Mills Relied on the Lucent Agreement, Not the JMOL

11            Microsoft’s headline argument is a red-herring: Microsoft protests that Mr. Mills does not

12   identify any judicial authority for relying on a judicial decision in another court in a hypothetical

13   negotiation. Motion at 7. But this is a misunderstanding:

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20                                   Microsoft strangely criticizes Sentius for making this conservative

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                                                               Plaintiff’s Opposition to Daubert Motion to Exclude
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 1   assumption (using $24.6 million rather than                    , without addressing or noticing the
 2   reason it was made.
 3          Even assuming that Mr. Mills relied on Judge Hoff’s decision for more than a limited
 4   purpose (which he did not), Microsoft does not identify any reason why that would be
 5   inappropriate.        Assuming the Arendi and Lucent patents and technology are comparable
 6   (discussed below), Judge Hoff was looking at the exact same question that Mr. Mills needs to
 7   answer about the outcome of a hypothetical negotiation. Assuming Judge Hoff’s (and the jury’s)
 8   analysis was correct, that would seem to be an ideal place to look to determine how hypothetical
 9   negotiation would turn out.
10                    2.       Mr. Mills Properly Relied on the Arendi Litigation Settlement

11          In its effort to exclude reference to the Arendi litigation settlement, Microsoft attempts to

12   draw a bright-line rule that litigation settlement agreements are inadmissible for Georgia-Pacific

13   analyses, while ignoring clear authority to the contrary. The Arendi patents licensed to Microsoft

14   relate to the smart tags feature that is included in many Microsoft products.4 Dr. Madisetti

15   testified that the technology of Arendi patents is comparable to the technology of the Sentius

16   patents as they are used for smart tags. Mr. Mills uses the Arendi patents only to assess damages

17   relating to smart tags.

18          Microsoft’s bright-line argument against the use of litigation settlements is inconsistent

19   with the Federal Circuit’s decision in ResQNet.com, which noted that “the most reliable license in

20   the record arose out of litigation.” 594 F.3d 860, 872 (Fed. Cir. 2010). In one of the primary

21   cases relied upon by Microsoft, Judge Koh, citing ResQNet.com, permitted a damages expert to

22   rely on a litigation settlement agreement, noting that “the Federal Circuit has found that, in certain

23   circumstances, the most reliable license in the record can be one that arose out of litigation.”

24   GPNE Corp. v. Apple, Inc., 2014 WL 1494247, at *10 (N.D. Cal. Apr. 16, 2014), citing

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 1   ResQNet.com, 594 F.3d at 872 (“the most reliable license in this record arose out of litigation”).
 2   Microsoft surprisingly omits mention of this legal principle in its motion.
 3            Here, as in ResQNet.com, the most reliable license in the record for smart tags is the
 4   Arendi license.       That license arose out of litigation in which Arendi accused Microsoft of
 5   infringing its patents through smart tags and Dr. Madisetti testified that the technology of the
 6   Arendi and Sentius patents are comparable insofar as they relate to smart tags. Notably, Microsoft
 7   does not identify any other license that it claims is more reliable and in fact has consistently
 8   denied that there are any comparable licenses.
 9            Outside GNPE – which approved the use of a litigation license – Microsoft cites a series
10   of cases that pre-date ResQNet or that are from other jurisdictions to support the proposition that
11   litigation licenses are inadmissible. Motion at 7-10. Post-ResQNet, the Federal Circuit and Courts
12   in this Circuit recognize that litigation settlements can be pertinent to reasonable royalties. In re
13   MSTG, Inc., 675 F.3d 1337, 1348 (Fed. Cir. 2012) (“Our cases appropriately recognize that
14   settlement agreements can be pertinent to the issue of reasonable royalties.”); Dynetix Design
15   Solutions, Inc. v. Synopsys, Inc., No. C 11-5973 PSG, 2013 WL 4537838, at *7 (N.D. Cal. Aug.
16   22, 2013), appeal dismissed (Mar. 18, 2014) (denying motion to exclude settlement agreement
17   and holding that “Under ResQNet, there is no basis to prevent Synopsys from using a comparable
18   license like the Axiom settlement agreement amount to assess damages.”).
19            Microsoft attempts to distinguish ResQNet because the two settlement agreements in
20   ResQNet concerned the patents-in-suit and ResQNet was a bench trial, where jury confusion was
21   not an issue. Neither distinction matters. Neither GNPE nor Dynetix stated that the licenses had
22   to involve the same patents-in-suit: GNPE stated that the party espousing litigation licenses “must
23   only show that [its expert’s] consideration of [the] patent litigation settlements is sufficiently
24   reliable to be admissible under Daubert,” 2014 WL 1494247, at *9;5 Dynetix stated that the
25   5
       It is difficult to decipher what conclusions the GNPE Court drew about similarities of the specific licenses at issue
     in that case because the relevant passages are redacted in that decision. However, the Court acknowledged that
26   litigation licenses can clearly be used if they are the “most comparable” licenses in the record. 2014 WL 1494247, at
     *9.
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 1   relevant inquiry was whether the licenses were “comparable,” not whether they were from the
 2   same suit. 2013 WL 4537838, at *7. Similarly, GNPE was a jury trial and Dynetix would have
 3   been a jury trial had the case proceeded to trial. The ResQNet Court concluded that a settlement
 4   agreement was “the most reliable license in this record.” 594 F.3d at 872. That is precisely the
 5   case here.
 6          While Microsoft does not seek to preclude reliance on the Lucent agreement – presumably
 7   because it does not recognize that Mr. Mills relied on the Lucent agreement – the same
 8   considerations establish its admissibility. Dr. Madisetti testified that the Lucent agreement is
 9   technically comparable to the Sentius patents insofar as they relate to background spell- and
10   grammar-checking. There is no more comparable license in the record and Microsoft has
11   repeatedly denied that any license is comparable. Compare Interwoven, Inc. v. Vertical Computer
12   Sys., No. CV 10-04645 RS, 2013 WL 3786633, at *11 (N.D. Cal. July 18, 2013) (permitting use
13   of settlement agreements, in spite of defendants’ arguments that the agreements were not
14   sufficiently comparable either technologically or economically, where there was no evidence that
15   any license for the exact patents-in-suit was negotiated but not considered) with LaserDynamics,
16   Inc. v. Quanta Computer, Inc., 694 F.3d 51, 80 (Fed. Cir. 2012) (excluding comparisons to
17   existing licenses where expert had ignored many licenses expressly for the patent in issue in favor
18   of a license somewhat removed from the relevant technology). Further, “the fact that a license is
19   not perfectly analogous generally goes to the weight of the evidence, not its admissibility.”
20   Ericsson, Inc. v. D-Line Sys., Inc., Nos. 2013-1625, -1631, -1632, -1633, -- F.3d --, 2014 WL
21   6804864, at *20 (Fed. Cir. 2014).
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 7   Based on these similarities, Mr. Mills determined that the parties would very likely consider
 8   Microsoft’s settlement with Lucent at the hypothetical negotiation.
 9            Moreover, similar to GPNE, Mr. Mills does not rely solely on the Lucent license, but
10   rather uses the income approach (along with all the other Georgia-Pacific factors) to cross-check
11   the results of the comparable license analysis.6
12            Microsoft also argues that some courts have cautioned that admission of “evidence of
13   settlement agreements with third parties would ‘invite a mini-trial on similarities and differences
14   in the facts regarding the ‘same’ claims against other defendants to determine the value of the
15   claim in the case at hand.” Motion at 10 (quoting Abbott Labs. v. Sandoz, Inc., 743 F. Supp. 2d
16   762, 767 -768 (N.D. Ill. 2010)). Leaving aside that Abbot Labs permitted the use of a settlement
17   agreement, id., Microsoft does not identify what “mini-trial on similarities and differences” it
18   thinks would be occasioned by using the Arendi (or Lucent) agreements. In fact, Microsoft’s
19   30(b)(6) witness designated on the topic of those agreements could not identify any factual issues
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       In GPNE, the Court noted that “five facts” counseled against granting GPNE’s motion to exclude the testimony,
25   including that the expert “only relies on the GPNE settlement licenses to check the reasonableness of his royalty
     calculation.” 2014 WL 1494247, at *10. The GPNE Court did not suggest that any the five factors were necessary
26   or sufficient, and acknowledged that the inquiry was fact-specific, but Mr. Mills’ reliance on other analyses besides
     the Lucent license confirms the appropriateness of allowing him to rely on the Lucent license.
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 1   relevant to the Lucent or Arendi licenses or negotiations that would make them different than this
 2   case.7
 3            Finally, Microsoft ignores Federal Circuit authority when it argues that permitting Mr.
 4   Mills to testify based on the Arendi settlement would “contravene both the letter and the spirit of
 5   Federal Rule of Evidence 408.” Motion at 10-11. In In re MSTG, Inc., the Federal Circuit held
 6   that “settlement negotiations related to reasonable royalties and damage calculations are not
 7   protected” by a Rule 408 settlement privilege. 675 F.3d 1337, 1348 (Fed. Cir. 2012). Because the
 8   Court recognized that Rule 408 directly addresses “the admissibility of settlements and settlement
 9   negotiations,” the same ruling applies to settlement agreements as to settlement negotiations. The
10   Court explicitly acknowledged that Rule 408 does not bar settlement agreements for reasonable
11   royalty analyses, noting that Federal Circuit “cases appropriately recognize that settlement
12   agreements can be pertinent to the issue of reasonable royalties.” Id. Nor would use of the
13   settlement agreement here unduly chill parties from reaching settlements – Courts commonly use
14   litigation settlements and no thumb will be put on the scale by allowing that here.
15                   3.     Mr. Mills Properly Converted the Lump Sum Values

16            Microsoft argues that Mr. Mills impermissibly converted the lump-sum values in the

17   Lucent JMOL and the Arendi settlement, but ignores the case law that permits that conversion in

18   similar circumstances. In Fujitsu Ltd. v. Belkin Intern., Inc., for example, the Court denied a

19   motion to exclude the patentee’s damages expert’s testimony that based a running royalty on prior

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 1   lump-sum license agreements because the expert provided some rationale for how the lump-sum
 2   rate was relevant to determining a running-royalty rate, and therefore the accused infringer’s
 3   challenges to the testimony went to its weight not its admissibility. No. 10–CV–03972–LHK,
 4   2012 WL 5835741, *2-*3 (N.D. Cal. Nov. 16, 2012), citing Lucent Technologies, Inc. v.
 5   Gateway, Inc., 580 F.3d 1301, 1330 (Fed. Cir. 2009) (“For a jury to use a running-royalty
 6   agreement as a basis to award lump sum damages . . . some basis for comparison must exist in the
 7   evidence presented to the jury.” (emphasis added by Fujitsu Court)).8
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16                                                                                     Furthermore, all of these facts
17   were known by both Lucent and Microsoft when they entered into their settlement agreement.
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23            Courts have accepted experts’ use of lump sum agreements, and converting the payment
24   to a running royalty in similar circumstances. See e.g., Order, LaserDynamics, Inc. v. Quanta
25   Computer, Inc., Case No. 2:06-CV-348, January 19, 2011; Order Granting in Part and Denying In
26   8
       As the Fujitsu Court explained, in Lucent, the running royalties did not constitute substantial evidence in support of
     the verdict because “the jury had almost no testimony with which to recalculate in a meaningful way the value of any
27
     of the running royalty agreements to arrive at the lump-sum damages award.” Id.
28                                                             12
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 1   Part Defendants’ Daubert Motion to Exclude Plaintiff’s Damages Experts, Multimedia Patent
 2   Trust v. Apple, Inc., Case No. 10-CV-2618 H (KSC), 2012 WL 5873711, (S.D. Cal. November
 3   20, 2012); and Order Granting in Part and Denying In Part HTC’s Motion to Exclude the Revised
 4   Expert Opinions of Joseph Gemini, DataQuill Limited v. High Tech Computer Corp., Case No.
 5   08-CV-543 IEG (BGS), 2012 WL 1284381, (S.D. Cal. April 16, 2012).
 6                   4.       The Lucent Patent Is Technically Comparable

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11                                                                                                          For this

12   reason alone, this portion of the motion should be denied.                 See O2 Micro Intern. Ltd. v.

13   Monolithic Power Sys., Inc., 420 F. Supp. 2d 1070, 1088 (N.D. Cal. 2006) (denying motion for

14   new trial where defendant argued that the court improperly permitted one expert to rely on

15   another expert’s test results, in part because defendant never met its burden of challenging the

16   other expert’s methodology in its rebuttal case).

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      Ard Decl., Ex. C (Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review
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     of Other Licensed Patents)).
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 2                                   This provides more than the “discernible link to the claimed
 3   technology” that Microsoft claims is lacking. Motion at 13.
 4          Microsoft does not cite, criticize, or seek to exclude Dr. Madisetti’s testimony on this, but
 5   criticizes a summary given by Mr. Mills. Microsoft complains that Mr. Mills’ summary of Dr.
 6   Madisetti’s conclusions is “unsupported” but it fails to consult the expert report that supports the
 7   conclusion. Experts may of course rely on other experts and Microsoft’s decision not to seek to
 8   exclude Dr. Madisetti’s testimony is strange but telling. See Accessories Marketing, Inc. v. Tek
 9   Corp., No. C 11-4773 PSG, 2013 WL 1409887, at *1 (N.D. Cal. April 2, 2013) (“experts may
10   rely on the opinion of other experts to formulate their opinions”) (citation omitted).
11          Microsoft’s next series of complaints are bizarre. Microsoft states the relevant inquiry for
12   comparability is the “claimed inventions” of the Lucent and Sentius patents, not the “features
13   accused of infringement.” Motion at 14. But Microsoft criticizes Mr. Mills for acknowledging
14   differences in the accused features (date-picker versus spell-check) in response to questions posed
15   of him by Microsoft’s counsel at a deposition. Under Microsoft’s own analysis, this should be
16   irrelevant. Worse still, Microsoft misquotes Mr. Mills’ report to generate the supposed confusion
17   that is Microsoft’s own making.
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21   While Mr. Mills clearly stated that the claimed invention in the Lucent patent related to word
22   processing, Microsoft misquotes the report by characterizing it to say that the “date-picker feature
23   at issue in Lucent” was directed to word processing. Motion at 14 (emphasis added).
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 1                                                     To complete the bizarre critique, Microsoft accuses
 2   Mr. Mills of backtracking on a statement he did not make and that Microsoft agrees would be
 3   irrelevant anyway – namely, a statement about the technical comparability of the accused features
 4   of the Lucent and Sentius litigation.
 5              The ultimate issue for the jury to decide is whether the Lucent and Sentius patents are
 6   sufficiently comparable to permit a comparison on the license. On Daubert, the standard is much
 7   lower.       “Here, whether these licenses are sufficiently comparable such that [the patentee’s]
 8   calculation is a reasonable royalty goes to the weight of the evidence, not its admissibility.”
 9   Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1326 (Fed. Cir. 2014); accord ActiveVideo Networks,
10   Inc. v. Verizon Commc'ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012) (“The degree of
11   comparability of the … license agreements as well as any failure on the part of [the damages]
12   expert to control for certain variables are factual issues best addressed by cross examination and
13   not by exclusion.”).            For Daubert, the issue is whether Mr. Mills’ analysis of comparable
14   licenses, resting in part on Dr. Madisetti’s expertise, used “reliable principles and methods, and
15   reliably applied them to sufficient facts and data on the record to calculate the overall value of
16   the” Sentius patents. Apple, 757 F.3d at 1326. That low standard is clearly met here.11
17              Most of the lead cases cited by Microsoft reach the same result. Virnetx, Inc. v. Cisco Sys.,
18   Inc., 767 F.3d 1308, 1330 (Fed. Cir. 2014) (the Court permitted the expert to use licenses “drawn
19   to related technology” that were “not immune from challenge,” noting that “all of the other
20   differences that [defendant] complains of were presented to the jury, allowing the jury to fully
21   evaluate the relevance of the licenses. No more is required in these circumstances.”); Finjan, Inc.
22   v. Secure Computing Corp., 626 F.3d 1197, 1211 (Fed. Cir. 2010) (While there were several
23   differences between the single license relied upon and the hypothetical negotiation, most notably
24   that Finjan did not compete with the licensee as it did with the defendant in the case, and that the
25   license involved a lump sum rather than a running royalty, the Court affirmed the damages award
26

27   11
          Microsoft cites the wrong line of cases.
28                                                        15
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 1   based on that license because “[those] differences permitted the jury to properly discount the ...
 2   license.”).12
 3            The two cases cited by Microsoft that criticized the use of licenses do not compel a
 4   different result, for the reasons explained in Virnetx. In ResQNet, the Court faulted the district
 5   court for relying on licenses with “no relationship to the claimed invention,” nor even a
 6   “discernible link to the claimed technology.” 594 F.3d at 870. And in Lucent, the Court rejected
 7   reliance on licenses from “vastly different situation[s]” or where the subject matter of certain
 8   agreements was not even ascertainable from the evidence presented at trial. 580 F.3d at 1327–28.
 9   As in Virnext, the Lucent license is admissible because it “bear[s] a closer relationship to the
10   hypothetical negotiation that would have occurred.” 767 F.3d at 1330.
11                     5.       Mr. Mills Accounted for Differences in Arendi Settlement

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15            Microsoft first complains that Mr. Mills did not try to qualify a damages range in the

16   Arendi litigation, but Microsoft cites no case or authority for the proposition that a damages

17   expert must try to quantify damages range in other litigation. Microsoft suggests that Mr. Mills’

18   deposition testimony also states that he did not “attempt to account for the differences between

19   the issues there and those that would surround a hypothetical negotiation here.” Motion at 15.

20   But that grossly distorts his testimony: in the cited passages, he simply said he did not try to

21   figure out a damages range for the Arendi litigation or seek any facts that would help him do so.

22   Mr. Mills Report contains a 10 page discussion that “attempts to account for the differences” and

23   similarities between the issues in Arendi and here.

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26     Further, to the extent Microsoft relies on LecTec Corporation v. Chattem, Inc., No. 5:08-cv-130, 2014 WL
     5163421 (E.D. Tex. Jan. 4, 2014), the case is inapposite insofar as it analyzes lump sum settlements that do not
     provide any per-unit royalty rate. Here, there is no risk of juror confusion and unfair prejudice because the lump sum
27
     settlements do provide a per-unit royalty rate.
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 1          Microsoft next complains that “Mr. Mills placed no value on, and did not specifically
 2   account for the effects of, Arendi’s European injunction threat.”
 3

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 6                                                                              Mr. Mills also accounted
 7   for the value of foreign patent rights by calculating an effective royalty rate based upon
 8   worldwide sales of Microsoft products licensed under the Arendi settlement, which resulted in a
 9   significant downward adjustment.
10          Microsoft finally complains that Mr. Mills did not attempt to value the other Arendi
11   patents that were asserted in that case. But Microsoft’s 30(b)(6) witness acknowledged that he
12   did not know whether they had any value14 and Mr. Mills testified that he looked to that
13   testimony in preparing his report. And Microsoft has not presented any evidence that these
14   additional patents brought any value beyond those examined by Dr. Madisetti.
15                 6.     Mr. Mills Accounted for Economic Differences in the Lucent
                          Settlement
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                                                        Additionally, as discussed above, nearly all of
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     these factors are the same across the hypothetical negotiation and the Lucent settlement and
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 1   warrant no adjustment. Microsoft does not even reference that discussion, nor explain why Mr.
 2   Mills’ analysis of any particular Georgia-Pacific factor is irrelevant.
 3           Furthermore, all the differences Microsoft cites in this section are either irrelevant or
 4   addressed by Mr. Mills:
 5                •   Microsoft states that Lucent was a multi-billion dollar corporation with countless
                      products, while Sentius had no products and was focused on monetizing its
 6
                      intellectual property. As Mr. Mills discusses, Lucent did not compete with
 7                    Microsoft, and licensing the ‘356 patent would not amount to Lucent licensing
                      away a competitive advantage.
 8

 9
                  •   Microsoft states that Lucent employed over 76,000 people while Sentius had one
10                    employee. Microsoft does not say what impact (if any) the number of people
11                    employed by a licensor would have on the outcome of a hypothetical negotiation.
                      This fact is irrelevant.
12
                  •   Microsoft states that Lucent had a 29,000+ patent portfolio, while Sentius had only
13                    a handful of patents. This fact is irrelevant because Microsoft did not negotiate a
                      license to Lucent’s entire patent portfolio—the agreement settled litigation
14                    involving one Lucent patent (the ‘356 patent).
15                •   Microsoft and Lucent were engaged in another patent infringement lawsuit filed by
                      Lucent. This is irrelevant: the settlement agreement between Lucent and
16
                      Microsoft only settled litigation surrounding Microsoft’s infringement of the ‘356
17                    patents—it did not settle any other litigation between Microsoft and Lucent.
                      Additionally, the Court’s damages award to Lucent was determined based upon
18                    Microsoft’s use if the ‘356 patent, and no other patents were considered in the
                      Court’s ruling.
19
             B.       Mr. Mills’ “Income Approach” Is Sound
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             Microsoft’s claim that the “income approach” alternative theory is wholly derivative of
21
     the Lucent effective royalty rate is incorrect. This analysis was completed independent of the
22
     Lucent effective royalty rate. Indeed, the Wecker Survey (which forms the foundation of this
23
     approach) made no mention of Lucent, the ‘356 patent, or the date picker functionality. The
24
     Wecker Survey was used to determine the revenue and profit Microsoft would stand to lose if it
25
     replaced the accused spell and grammar check functionality with the next best and non-infringing
26
     alternative that was available to it.
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28                                                    18
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14          Microsoft does not identify a single factor that Mr. Mills should have considered but
15   failed to consider. Notably, Microsoft does not say what it believes the proper relative bargaining
16   power is. Microsoft complains that the factors considered “provide[] no quantification,” but it
17   does not suggest any factors that would give a precise quantification of their bargaining power.
18   Nor does Microsoft cite any case excluding an expert because the factors he considered do not
19   provide a precise quantification of the parties relative bargaining power.
20          C.      Mr. Mills Did Not Need To Measure Damages By Instances of Usage
21          Microsoft’s claim that damages for method claims must be tied to actual instances of use
22   is contrary to the case law and the common sense perspective of a hypothetical negotiator. This
23   Court rejected the same argument recently:
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 1           [The alleged infringer] does not cite to a single case suggesting that the royalty
             base of a hypothetical negotiation must be limited to units deemed to directly
 2
             infringe. Such a rule makes especially little sense in cases like this one, where
 3           indirect infringement by the defendant is alleged and the bulk of the direct
             infringement alleged is that of third parties.
 4

 5   Emblaze Ltd. v. Apple Inc., No. 5:11-CV-01079-PSG, 2014 WL 2889764, at *6 (N.D. Cal. June

 6   25, 2014); accord Chiuminatta Concrete Concepts, Inc. v. Cardinal Indusies., Inc., 1 Fed. Appx.

 7   879, 884 (Fed. Cir. 2001) (rejecting implication that patentee “is required to demonstrate a one-

 8   to-one correspondence between units sold and directly infringing customers”). It is not surprising

 9   that Microsoft fails to cite a single case for the proposition that there must be one-to-one

10   correspondence between damages and instances of indirect infringement.16

11           Sentius’s claim, which is that every accused Microsoft device is capable of infringement,

12   without any modification or programming by the end user, and in combination with

13   circumstantial evidence of demand and use, is sufficient to support a claim for damages for all

14   units sold. Chiuminatta Concrete Concepts, Inc., 1 Fed. Appx. 879.

15           Further, with respect to the comparable license analysis, Mr. Mills is making an apples-to-

16   apples comparison to Lucent, which also involved method claims and did not base damages on

17   instances of use.

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21           D.       Microsoft’s Profits Are Relevant Under Georgia-Pacific

22           Microsoft seeks to exclude any mention of the profitability of Microsoft as a whole and of

23   the Office business specifically, but omits to discuss the stated reasons these numbers are

24   mentioned in the Mills Report.

25

26   16
       The only cases Microsoft cites stand for the unremarkable proposition that method claims are not infringed until
     the claimed method is performed. The cases do not say or suggest that damages for method claims must be measured
27
     by actual instances of performance.
28                                                          20
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 2                             Without this information, there is no way of knowing that the accused
 3   features are an important part of Microsoft’s overall business and the impact that fact would have
 4   on Microsoft’s approach to the hypothetical negotiation. In addition, to the extent that Office
 5   profitability metrics are used in the “income approach” analysis, they are critical to the damages
 6   analysis and Microsoft gives no reason to exclude them.
 7           Microsoft also seeks to exclude mention of Microsoft’s acquisition, in 1987, of
 8   Forethought Inc., the predecessor of PowerPoint, for $14 million and a valuation of certain of
 9   Sentius’ intellectual property performed by VRC. Sentius consents not to mention either of these
10   during trial.
11                                       IV.     CONCLUSION
12           Microsoft’s Daubert motion to exclude the report and testimony of Robert Mills should be
13   denied in its entirety.
14   Dated: December 30, 2014
15                                                SUSMAN GODFREY L.L.P.
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17                                                 Meng Xi (SBN 280099)
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